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                 Exhibit 41 to
  The Governor’s Motion for Summary Judgment


             Documents Produced by Plaintiffs




            Gates et al. v. Polis, No. 1:22-cv-1866-GPG-SKC (D. Colo.)
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                                                                          Exhibit A

                               BY-LAWS
                                  Of
                NATIONAL FOUNDATION FOR GUN RIGHTS, INC.

                          A Virginia Nonprofit Corporation


                                  ARTICLE I
                         NAME, LOCATION AND OFFICES

  Section 1.01 Name. The name of this Corporation shall be “National
  Foundation for Gun Rights, Inc.” (hereinafter the “Corporation”).
  Section 1.02 Registered Agent. The Corporation shall maintain a registered
  agent within the Commonwealth of Virginia in accordance with the Virginia
  Nonstock Corporation Act.
  Section 1.03 Offices. The Corporation shall have its principle office in the
  Commonwealth of Virginia, and may have such other offices and places of
  business within or without the Commonwealth as the Board of Directors may
  from time to time determine or the business of the Corporation may require.

                                    ARTICLE II
                                    DIRECTORS

  Section 2.01 Board of Directors. The management of the affairs, property
  and business of the Corporation shall be vested in a Board of Directors.

  Section 2.02 Number. The number of directors shall be a minimum of three,
  or more as fixed from time to time by the Board of Directors.

  Section 2.03 Term of Directors. Each director shall hold office until the
  expiration of such term and until his successor, if any, has been elected and
  qualified, or until his earlier resignation or removal.

  Section 2.04 Election of Directors, Annual and Regular Meetings. The
  annual meeting of directors shall be held on such date as may be determined
  by the Board of Directors. At such meeting, the directors shall elect a Board of
  Directors and transact such other business as may properly come before the
  meeting. Regular meetings of the Board of Directors may be held at such times
  as the Board of Directors may from time to time determine. NO notice shall be
  required for the annual or any regular meeting of the Board of Directors.

  Section 2.05 Special Meetings. Special meetings of the Board of Directors
  may be called by the President, by an officer of the corporation who is also a
  director of by any two directors, upon one day’s notice to each director either



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  personally or by mail, email, telephone, telecopier or telegraph, and if by
  telephone, confirmed in writing before or after the meeting, setting forth the
  time and place of such meeting. Notice of any special meeting need not be
  given, however, to any director who submits a signed waiver of notice, before or
  after the meeting, or who attends the meeting without objections to the
  transaction of business.

  Section 2.06 Place of Meetings. (a) The Board of Directors may hold its
  meetings, regular or special, at such places as it may from time to time
  determine or as shall be set forth in any notice of such meeting.

         (b) Any meeting of the Board of Directors may be held by means of
  conference telephone or similar communications equipment whereby all
  persons participating in the meeting can hear each other, and such
  participation shall constitute presence at the meeting.

  Section 2.07 Adjourned Meetings. A majority of the directors present,
  whether or not a quorum, may adjourn any meeting of the Board of Directors
  to another time and place. Notice of such adjourned meeting need not be given
  if the time and place thereof are announced at the meeting at which the
  adjournment is taken.

  Section 2.08 Quorum of Directors. A majority of the total number of
  directors shall constitute a quorum for the transaction of business. The total
  number of directors means the number of directors the Corporation would have
  if there were no vacancies.

  Section 2.09 Action of the Board of Directors. The vote of a majority of the
  directors present at a meeting at which a quorum is present shall be the act of
  the Board of Directors, unless the question or action is one upon which a
  different vote is required by express provision of statute, the Certificate of
  Incorporation or these By-Laws, in which case such provision shall govern the
  vote on the decision of such question or action. Each director present shall
  have one vote.

  Section 2.10 Action by Written Consent of Directors. Any action required
  or permitted to be taken at any meeting of the Board of Directors or of any
  committee thereof may be taken without a meeting, if a written consent thereto
  is signed by all members of the Board of Directors or of such committee, and
  such written consent is filed with the minutes of proceedings of the Board of
  Directors or committee. Consent may be given by email.

  Section 2.11 Resignation. A director may resign at any time by giving written
  notice to the Board of Directors, the President or the Secretary of the
  Corporation. Unless otherwise specified in the notice, the resignation shall



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  take effect upon receipt by the Board of Directors or such office, and
  acceptance of the resignation shall not be necessary.

  Section 2.12 Removal of Directors. Any or all of the directors may be
  removed with or without cause by majority vote of the directors.

  Section 2.13 Vacancies. Vacancies occurring in the Board of Directors for any
  reason may be filled by a vote of the majority of the directors then in office,
  although less than a quorum. A director elected to fill a newly created
  directorship or to fill any vacancy shall hold office until the next annual
  meeting of directors, and until his successor, if any, has been elected and
  qualified.

  Section 2.14 Chairman. At all meetings of the Board of Directors the
  Chairman of the Board or, if one has not been elected or appointed or in his
  absence, a chairman chosen by the directors present at such meeting, shall
  preside.

  Section 2.15 Committees Appointed by the Board of Directors. The Board
  of Directors may, by resolution passed by a majority of the entire Board of
  Directors or by written consent of all of the directors, designate one or more
  committees, each committee to consist of one or more of the directors. The
  Board may also designate one or more directors as alternate members of any
  committee who may replace any absent or disqualified committee member at
  any committee meeting. Any such committee, to the extent provided in the
  resolution, except as restricted by law, shall have and may exercise the powers
  of the Board of Directors in the management of the affairs, business and
  property of the Corporation, and may authorize the seal of the Corporation, if
  any, to be affixed to all papers which may require it.

  Section 2.16 Compensation. Unless otherwise restricted by law, the
  certificate of incorporation or these Bylaws, the Board of Directors shall have
  the authority to fix the compensation of directors. No such compensation shall
  preclude any director from serving the corporation in any other capacity and
  receiving compensation therefore.

                                    ARTICLE III
                                     OFFICERS

  Section 3.01 Offices, Election and Term. (a) At its annual meeting the Board
  of Directors shall elect or appoint a President and a Secretary and may, in
  addition, elect or appoint at any time such other officers as it may determine.
  Any number of offices may be held by the same person.

  (b) Unless otherwise specified by the Board of Directors, each officer shall be
  elected or appointed to hold office until the annual meeting of the Board of


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  Directors next following his election or appointment and until his successor, if
  any, has been elected or appointed and qualified, or until his earlier resignation
  or removal.
  (c) Any officer may resign at any time by giving written notice to the Board of
  Directors, the President or the Secretary of the Corporation. Unless otherwise
  specified in the notice, the resignation shall take effect upon receipt thereof,
  and the acceptance of the resignation shall not be necessary to make it
  effective.

  (d) Any officer elected or appointed by the Board of Directors may be removed
  by the Board of Directors with or without cause. Any vacancy occurring in any
  office by reason of death, resignation, removal or otherwise may be filled by the
  Board of Directors.

  Section 3.02 Powers and Duties. The officers, agents and employees of the
  corporation shall each have such powers and perform such duties in the
  management of the affairs, property and business of the Corporation, subject
  to the control of and limitation by the Board of Directors, as generally pertain
  to their respective offices, as well as such powers and duties as may be
  authorized from time to time by the Board of Directors.

                                   ARTICLE IV
                                INDEMNIFICATION

  Section 4.01 Indemnification. The Corporation shall indemnify the directors
  and officers and may, by action of the Board of Directors, indemnify its agents
  and employees in the manner and to the full extent provided in the laws of the
  state of in which it is incorporated. Such indemnification may be in addition to
  any other rights to which any person seeking indemnification may be entitled
  under any agreement, vote of directors, any provision of these By-Laws or
  otherwise. The directors, officers, employees and agents of the Corporation
  shall be fully protected individually in making or refusing to make any payment
  or in taking or refusing to take any other action under this Article in reliance
  upon the advice of counsel. Expenses incurred in defending any action or
  proceeding for which indemnification is required or permitted and authorized
  by the Board of Directors shall be paid by the corporation in advance of the
  final disposition of such action or proceeding upon receipt of an undertaking by
  or on behalf of the indemnified party to repay such amount if it shall ultimately
  be determined that the indemnified party is not entitled to be indemnified as
  authorized in this Article.

                                   ARTICLE IV
                                 MISCELLANEOUS

  Section 5.01 Corporate Seal. The corporation shall not have a corporate seal.



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  Section 5.02 Execution of Instruments. All corporate instruments and
  documents shall be signed or countersigned, executed, and, if desired, verified
  or acknowledged by a proper officer or officers of such other person or persons
  as the Board of Directors may from time to time designate.

  Section 5.03 Fiscal Year. The fiscal year of the Corporation shall be from
  January 1 through December 31, or as otherwise determined by the Board of
  Directors.

                                   ARTICLE VI
                                  AMENDMENTS

  Section 6.01 Amendments. These By-Laws may be altered, amended or
  repealed from time to time by the directors.




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barry@arringtonpc.com

From:                Jon Hummel
Sent:                Thursday, March 23, 2023 4:01 PM
To:                  kingkharles@gmail.com
Cc:                  Hannah Hill
Subject:             Are You Interested in Being a Plaintiff, Again


Karl,
Thank you so much for being a plaintiff in our case against CO magazine ban. As we are looking to put together plaintiffs
to challenge the forthcoming “assault weapons” ban we thought you might make a good plaintiff once again.

We are looking for someone who does not currently own any of the firearms that would be banned if the new law goes
into effect. Since you did not own the “high capacity” magazines we thought you might be a fit for this need as well.

Can you let me know if you are willing to be a plaintiff and that you do not own any of the to-be-banned firearms?

Let me know if you have any questions. Thank you so much!
Best,

Jon Hummel
Research Assistant
National Foundation for Gun Rights
2300 Eisenhower Blvd Loveland, CO 80537




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barry@arringtonpc.com

From:                Hannah Hill
Sent:                Monday, January 9, 2023 3:04 PM
To:                  Karl Honegger
Subject:             RE: Another plaintiff needed for CO


Awesome! Thank you so much. Would you mind giving me a quick call at 970-342-0185 when you get a second? It
should only take a minute.

Hannah

From: Karl Honegger <kingkharles@gmail.com>
Sent: Monday, January 9, 2023 12:47 PM
To: Hannah Hill <Hannah.Hill@nagrhq.org>
Subject: Re: Another plaintiff needed for CO

Hannah,

I’m good to join, I have never purchased a so called “assault weapon” before but I would like to be able to in the future.

Best regards,

Karl Honegger

On Mon, Jan 9, 2023 at 12:22 PM Hannah Hill <Hannah.Hill@nagrhq.org> wrote:

 Hey gentlemen,



 As you’re probably aware, Colorado is getting ready to pass an assault weapons ban. We are getting ready to sue over
 it the moment the governor signs the bill.



 We have a couple of plaintiffs already lined up, but would like two more. Would any of you be willing to serve as a
 plaintiff on a state case as well as the local lawsuit you’re currently on? We completely understand if it’s something
 you’re not comfortable with, but there is no legal issue with your doing both.




 Things are moving pretty quickly with this, so time is an issue.



 Thank you so much!



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Hannah Hill

Research and Policy Director

National Foundation for Gun Rights

2300 Eisenhower Blvd | Loveland, CO 80537

Tel: 970-460-9015



“Is life so dear, or peace so sweet, as to be purchased at the price of chains and slavery? Forbid it, almighty God! I know
not what course others make take, but as for me, give me liberty, or give me death!” – Patrick Henry




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barry@arringtonpc.com

From:                Jon Hummel
Sent:                Friday, March 24, 2023 10:56 AM
To:                  Karl Honegger
Subject:             RE: Are You Interested in Being a Plaintiff, Again


Karl,
That works perfectly! When the law goes into effect, we would love to have you as a plaintiff. When the time comes, we
will get in touch. Thank you again for your willingness to help.
Best,

Jon Hummel
Research Assistant
National Foundation for Gun Rights
2300 Eisenhower Blvd Loveland, CO 80537

From: Karl Honegger <kingkharles@gmail.com>
Sent: Thursday, March 23, 2023 5:57 PM
To: Jon Hummel <jon.hummel@gunrights.org>
Subject: Re: Are You Interested in Being a Plaintiff, Again

Jon,

Ok I don’t have, have owned or plan to purchase while the litigation goes on a firearm that meets the description in the
current proposed law. I would like to own in the future and so if that fits what you are looking for let me know.

-Karl

On Thu, Mar 23, 2023 at 4:32 PM Jon Hummel <jon.hummel@gunrights.org> wrote:

 Karl,

 I completely understand where you are coming from, they do write these things in a convoluted way.



 https://leg.colorado.gov/sites/default/files/documents/2023A/bills/2023a_1230_01.pdf



 This is a copy of the most current language of the bill. If you want, I would be more than happy to talk with you about
 what it means and if your firearms would be included in the ban.



 If you would like to talk let me know a good time tomorrow or next week that works to talk. Or if you can tell from the
 bill that you would not be eligible just let me know.

 Best,
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Jon Hummel

Research Assistant

National Foundation for Gun Rights

2300 Eisenhower Blvd Loveland, CO 80537

970-590-1781




From: Karl Honegger <kingkharles@gmail.com>
Sent: Thursday, March 23, 2023 3:04 PM
To: Jon Hummel <jon.hummel@gunrights.org>
Subject: Re: Are You Interested in Being a Plaintiff, Again



Jon,



I unfortunately don’t totally know what is to be banned as their definitions are so stupid… I don’t own an AR-15 and
never have but I’m not sure what kind of rifle they want to ban in addition to the AR-15.




-Karl



On Thu, Mar 23, 2023 at 3:01 PM Jon Hummel <jon.hummel@gunrights.org> wrote:

 Karl,

 Thank you so much for being a plaintiff in our case against CO magazine ban. As we are looking to put together
 plaintiffs to challenge the forthcoming “assault weapons” ban we thought you might make a good plaintiff once again.



 We are looking for someone who does not currently own any of the firearms that would be banned if the new law
 goes into effect. Since you did not own the “high capacity” magazines we thought you might be a fit for this need as
 well.




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Can you let me know if you are willing to be a plaintiff and that you do not own any of the to-be-banned firearms?



Let me know if you have any questions. Thank you so much!

Best,




Jon Hummel

Research Assistant

National Foundation for Gun Rights

2300 Eisenhower Blvd Loveland, CO 80537




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barry@arringtonpc.com

From:                Jon Hummel
Sent:                Thursday, March 23, 2023 4:01 PM
To:                  kingkharles@gmail.com
Cc:                  Hannah Hill
Subject:             Are You Interested in Being a Plaintiff, Again


Karl,
Thank you so much for being a plaintiff in our case against CO magazine ban. As we are looking to put together plaintiffs
to challenge the forthcoming “assault weapons” ban we thought you might make a good plaintiff once again.

We are looking for someone who does not currently own any of the firearms that would be banned if the new law goes
into effect. Since you did not own the “high capacity” magazines we thought you might be a fit for this need as well.

Can you let me know if you are willing to be a plaintiff and that you do not own any of the to-be-banned firearms?

Let me know if you have any questions. Thank you so much!
Best,

Jon Hummel
Research Assistant
National Foundation for Gun Rights
2300 Eisenhower Blvd Loveland, CO 80537




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